                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    SEADRILL PARTNERS LLC, et al., 1                                 ) Case No. 20-35740 (DRJ)
                                                                     )
                             Debtors.                                ) (Joint Administration Requested)
                                                                     )

      NOTICE OF DESIGNATION AS COMPLEX CHAPTER 11 BANKRUPTCY CASE

             On December 1, 2020 (the “Petition Date”), the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) filed voluntary petitions for relief under title 11 of

the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for

the Southern District of Texas.               The undersigned proposed counsel believes that these

chapter 11 cases qualify as complex chapter 11 cases because:


         X         The Debtors have total debt of more than $10 million;

         X         There are more than 50 parties in interest in this case;

         X         Claims against the Debtors are publicly traded;

                   Other (Substantial explanation is required. Attach additional sheets if necessary.)




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/seadrillpartners. The location of Debtor
      Seadrill Partners LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      Seadrill Partners LLC, 2nd Floor, Building 11, Chiswick Business Park, 566 Chiswick High Road, London W4
      5YS, United Kingdom.



KE 67689411
            WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

    relief requested herein and granting such other and further relief as is appropriate under the

    circumstances.


Houston, Texas
December 2, 2020

Respectfully Submitted,

/s/ Matthew D. Cavenaugh
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Proposed Conflicts Counsel for the Debtors
and Debtors in Possession
                                     Certificate of Service

        I certify that on December 2, 2020, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
